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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #:
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 11/5/2020
 ------------------------------------------------------------, X
 UNITED STATES OF AMERICA,                                     :
                                                               :         92-CR-0019
                                                               :
                            -against-                          :          ORDER
                                                               :
                                                               :
 DOMINGO ROSARIO FIGUEROA,                                     :
                                                               :
                                             Defendant.        :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS Defendant’s resentencing is scheduled for November 19, 2020 at 2:00 p.m.;

        IT IS HEREBY ORDERED THAT: Due to a scheduling conflict, Defendant’s

resentencing is adjourned to December 10, 2020 at 10:00 a.m.




SO ORDERED.
                                                            _________________________________
Date: November 5, 2020                                       VALERIE CAPRONI
      New York, NY                                          United States District Judge
